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                 IN THE UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF ARKANSAS
                           CENTRAL DIVISION

ROSE CHADWICK, on behalf of herself
and all others similarly situated                                PLAINTIFF

V.                         No. 4:21 -cv -1161 -DPM

STATE FARM MUTUAL AUTOMOBILE
INSURANCE COMPANY                                              DEFENDANT

                                    ORDER
       The parties have filed motions in limine. Here are the Court's
rulings.

     1. Chadwick's Motions

           1.1    Non-ACV Guidebook Estimates
       Denied. National Automobile Dealers Association and Kelley
Blue Book values were covered, in general, by O'Rourke and Merritt.
O'Rourke can authenticate this publicly available and relevant
information, summaries which fall within the market-quotation
exception to the hearsay rule. Fed. R. Evid. 803(17) & 1006. The Court
sees no prejudice to Chadwick. But if she wants to take a supplemental
deposition of O'Rourke on this issue, she may do so on a mutually
convenient date in May.
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        1.2   Lowell's Testimony About State Regulations
     Granted. The core issue is a contract dispute. Chadwick doesn't
allege that State Farm violated Arkansas insurance rules. Compare
Moffit v. State Farm Mutual Automobile Insurance Co., 11 F.4th 958, 959
(8th Cir. 2021). Whether State Farm disclosed (as required by Arkansas
law) that it made the typical negotiation adjustment is a different issue
than whether it broke the parties' contract by making that adjustment.
Any testimony about state regulations risks confusing the issues.
Fed. R. Evid. 403.
        1.3   Fernbach's Testimony
     Denied, for the same reasons the Court denied Chadwick's
Daubert motion. Doc. 124 at 3-4.
        1.4   Underlying Car Accident
     Partly granted and partly denied.            Basic facts about the
underlying accident are admissible context. But State Farm must, as it
says it will, steer clear of grisly details.
         1.5 Class Members Who Opted Out or Are Absent
      Partly granted and partly denied. Proof about those who opted
out is excluded: They're no longer in the case. In general, and subject
to any applicable provision of the Federal Rules of Civil Procedure and
Federal Rules of Evidence, proof about absent class members is
admissible. The Court has already said State Farm can get into the
weeds about them. Doc. 144 at 2. We'll revisit this issue, and discuss

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particulars, at the pretrial hearing in light of the parties' pretrial
disclosures.
          1.6   Expert Report Limits
      Granted, as to both sides, as unopposed and with a caveat.
The National Automobile Dealers Association and Kelley Blue Book
information is admissible, through O'Rourke if need be.
          1.7   Marais's Testimony
      Denied with directions. The motion is Daubert-ish, and thus a bit
tardy. On the merits, and in any event, Dr. Marais can, and must, make
plain the "existence/not truth" point about the articles. For the reasons
State Farm explains, his historical comparisons critiquing Dr. Johnson's
damages model are admissible. Chadwick, of course, may test the
weight of Dr. Marais's critique on cross.

   2. State Farm's Motions

          2.1   Less -Than -ACV
      Denied, for the reasons stated in the Court's previous Order,
Doc. 124. The parties are free to argue to the jury about whether actual
cash value should or shouldn't take negotiations into account. Doc. 124
at 5-6.
          2.2   Violating Arkansas's Insurance Regulations
      Granted as unopposed.



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        2.3       Colorful Language
     Denied.        "The use of colorful pejoratives is not improper."
United States v. Shoff, 151 F.3d 889, 893 (8th Cir. 1998). The Court
reminds all counsel, though, not to go too far.
        2.4       Negotiation Adjustment Calculated by State Farm
     Granted by agreement. Chadwick must speak accurately when
describing the business relationship between State Farm and Audatex.
But State Farm chose Audatex, used this company's product, and is
bound by how Audatex did the work.
        2.5       "Typical Negotiation Deduction"
     Granted. The parties must consistently use the one term that's at
issue here   -
                 "typical negotiation adjustment" so as not to confuse the
                                                  -




jury. Fed. R. Evid. 403. Chadwick, though, may offer evidence showing
that the typical negotiation adjustment is always a deduction and argue
from any such evidence.
        2.6       Typical Negotiation Adjustment's Non-Disclosure
     Granted, partly as unopposed and partly based on Moffit.
Chadwick can cover how it was disclosed, but must steer clear of
making, or implying, any claim based on that "how." The Court will
give a limiting instruction if needed.
        2.7       "Appraisal" Language
     Denied. The parties can offer testimony, and make argument,
about appraisal in the colloquial sense and its formal sense.

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        2.8   Typical Negotiation            Adjustment        Applied       to
              Chadwick's Vehicle
     Granted as unopposed.
        2.9   Audatex's Modifications After Class Period
     Granted. The changes are beyond the parties' dispute. There's a
danger of subsequent-remedial-measure -like prejudice. That kind of
evidence isn't admissible to prove culpable conduct. Fed. R. Evid. 407.
        2.10 "Rich" Versus "Poor"
     Granted with a caveat. Chadwick may question State Farm's
experts on Audatex's grouping methods. But Chadwick must avoid
the rich/poor point, which risks a verdict affected by sympathy or
class-related feelings. Fed. R. Evid. 403.
        2.11 California-Specific Calculation Methods
     Granted, based on what appears to be unique California law,
unless State Farm opens the door with "it can't be done" evidence.
        2.12 State Farm "Fired" Audatex
     Granted, for the same reasons as paragraph 2.9.
        2.13 Johnson's Expert Report
     Denied. The factual basis of an expert's report goes to weight,
not admissibility.    Hose v. Chicago Northwestern Transportation Co.,
70 F.3d 968, 974 (8th Cir. 1995).




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        2.14 Chadwick's Motivations
     Granted. Here, too, the Court will reconsider if State Farm opens
the door on what (or who) is driving Chadwick's case.
        2.15 Chadwick's Reservations
     Denied. State Farm can cross examine Chadwick about this.
        2.16 Vulnerable Total -Loss Claimants
     Granted. Fed. R. Evid. 403.
        2.17 State Farm's Other Litigation or Settlement Conduct
     Granted as unopposed.
        2.18 Other Insurance Companies' Total-Loss Litigation
     Granted as unopposed.
        2.19 Discovery Disputes
     Granted as unopposed.
        2.20 State Farm's Representation
     Granted as unopposed.
        2.21 "Hired Gun" Evidence
     Granted as unopposed.
        2.22 State Farm's Finances
     Granted as unopposed.
        2.23 Corporate Misconduct
     Denied. This is another colorful pejorative, which Chadwick may
use in arguing breach.



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     Chadwick's motions in limine-Doc. 158, 159, 160, 163, & 164-
are granted and denied as specified. State Farm's omnibus motion
in limine, Doc. 161, is granted and denied as specified.

     So Ordered.

                                        D.P. Marshall Jr.
                                        United States District Judge




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